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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

LUIS TEREJO,                                      §
                                                  §
       Plaintiff,                                 §
                                                  §
vs.                                               §          CAUSE NO. AU-16-CV-767-SS
                                                  §
PORTFOLIO RECOVERY ASSOCIATES                     §
LLC and WESTERN SURETY                            §
COMPANY,                                          §
                                                  §
       Defendants.                                §

______________________________________________________________________________

                             NOTICE OF APPEAL
    TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
______________________________________________________________________________


       Plaintiff Luis Terejo files this Notice of Appeal to the United States Court of Appeals for

the Fifth Circuit from the following orders of the District Court for the Western District of Texas,

Austin Division:

       Order entered June 1, 2020 that Plaintiff Luis Tejero Take Nothing as attorney’s fees from
       Defendants Portfolio Recovery Associates, LLC. and Western Surety Company.
       [Dkt # 83].

       DATED: July 1, 2020.


                                              Respectfully submitted,


                                              /s/ Celetha Chatman

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                                            ATTORNEYS FOR PLAINTIFF
                                            Luis Terejo

                                     Certificate of Service

        I hereby certify that on the 1st day of July, 2020, I electronically filed the foregoing

document with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to:

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